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 6   Attorneys for Plaintiffs
 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11

12   DANIEL ZEIGER and DANZ DOGGIE                  Case No. 3:17-cv-04056-WHO
     DAYTRIPS, Individually and on Behalf of All
13   Others Similarly Situated,
14                                Plaintiffs,
                                                    NOTICE OF WITHDRAWAL OF
15             v.                                   COUNSEL
16   WELLPET LLC, a Delaware corporation
17
                                  Defendant.
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     NOTICE OF WITHDRAWAL OF COUNSEL; Case No. 3:17-cv-04056-WHO
        Case 3:17-cv-04056-WHO Document 215 Filed 04/27/21 Page 2 of 2




 1   TO: The Clerk of the Court and to All Parties and Counsel of Record:

 2            PLEASE TAKE NOTICE THAT Raina C. Borrelli is no longer an attorney at the law firm

 3   of Gustafson Gluek PLLC and is hereby withdrawn as Counsel. Ms. Borrelli should be removed

 4   from the Court’s service list with respect to this action. Plaintiffs will continue to be represented by

 5   Counsel of record from Gustafson Gluek PLLC, as well as by additional counsel for Plaintiffs, and

 6   all future correspondence and papers in this action should continue to be directed as such.

 7

 8   Dated:    April 27, 2021                       GUSTAFSON GLUEK PLLC

 9                                                   /s/ Daniel E. Gustafson
                                                    Daniel E. Gustafson (Admitted Pro Hac Vice)
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